Case 5:20-cv-01755-SB-SP Document 20 Filed 12/11/20 Page 1 of 2 Page ID #:71


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     Attorneys for Defendant
12   Yunan C. Future Inc.
13                       UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15
16
       JAMES RUTHERFORD, an                Case No.: 5:20-cv-01755-SB-SP
17     individual,
                                           Hon. Stanley Blumenfeld, Jr.
18
       Plaintiff,
19                                           JOINT STIPULATION FOR
       v.                                    DISMISSAL OF THE ENTIRE
20
                                             ACTION WITH PREJUDICE
21     YUNAN C. FUTURE INC.,
       a California corporation; and       Complaint Filed: August 28, 2020
22
       DOES 1-10, inclusive,               Trial Date: None
23
       Defendants.
24
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26
27
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         JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case 5:20-cv-01755-SB-SP Document 20 Filed 12/11/20 Page 2 of 2 Page ID #:72

 1         TO THE COURT AND ALL PARTIES:
 2         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
 3   Plaintiff JAMES RUTHERFORD (“Plaintiff”) and YUNAN C. FUTURE INC.
 4   (“Defendants”), stipulate and jointly request that this Court enter a dismissal with
 5   prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each
 6   party shall bear his or its own attorneys’ fees, expert fees, and costs.
 7
 8         IT IS SO STIPULATED.
 9
                                           Respectfully submitted,
10
11                                         MANNING LAW, APC
      DATED: December 11, 2020
12                                         By: /s/ Joseph R. Manning, Jr.
13                                           Joseph R. Manning, Jr.
                                             Attorney for Plaintiff
14                                           James Rutherford
15
16
                                           CURAT LEX, INC.
17    DATED: December 11, 2020
18                                          By: /s/ Michael B. Wilson, Esq.
19                                            Michael B. Wilson, Esq.
                                              Attorneys for Defendants
20                                            Yunan C. Future Inc.
21
22
                    Certification Pursuant to Local Rule 5-4.3.4(a)(2)(i)
23
           Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Joseph R. Manning, Jr., hereby do
24
     attest that all signatories listed, and on whose behalf the filing is submitted, concur
25
     in the filing’s content and have authorized the filing.
26
27
     DATED: December 11, 2020                       By: /s/ Joseph R. Manning, Jr.
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          JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
